              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


CORECO JA’QAN PEARSON, VIKKI
TOWNSEND CONSIGLIO, GLORIA
KAY GODWIN, JAMES KENNETH                     CIVIL ACTION FILE NO.
CARROLL, CAROLYN HALL FISHER,                 1:20-cv-04809-TCB
CATHLEEN ALSTON LATHAM and
BRIAN JAY VAN GUNDY,

            Plaintiffs,
v.

BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official
capacity as Secretary of State and Chair of
the Georgia State Election Board, DAVID
J. WORLEY, in his official capacity as a
member of the Georgia State Election
Board, REBECCA N. SULLIVAN, in her
official capacity as a member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election
Board, and ANH LE, in her official
capacity as a member of the Georgia State
Election Board,

            Defendants.


     PROPOSED INTERVENORS’ PROPOSED MOTION TO DISMISS
      COME NOW THE DEMOCRATIC PARTY OF GEORGIA, INC., the

DSCC, and the DCCC (collectively, the “Democratic Political Party Committees”),

by and through their attorneys, and file this Proposed Motion to Dismiss pursuant to

the Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

      The basis for the motion is more fully set forth in the Democratic Political

Party Committees’ accompanying Brief in Support of Proposed Motion to Dismiss.

Dated: November 30, 2020.             Respectfully submitted,

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  Defendants

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             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CORECO JA’QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO,                     CIVIL ACTION FILE NO.
GLORIA KAY GODWIN, JAMES                      1:20-cv-04809-TCB
KENNETH CARROLL, CAROLYN
HALL FISHER, CATHLEEN ALSTON
LATHAM, and BRIAN JAY VAN
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capacity as a member of the Georgia State
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            Defendants.



                      CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.

Dated: November 30, 2020.                   Adam M. Sparks
                                            Counsel for Proposed Intervenor-
                                            Defendants
